Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 1 of 8

EXHIBIT A
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 2 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

Photo by Jeremy Perkins on Unsplash

On Joi and MIT
“EX. Lessig { Follow ]
g

Abe Sep 8 - 14 min read

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7

 
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 3 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

If you’re coming here from the New York Times
article published Saturday, please read this: On the
careful reading of the New York Times editors

A couple of weeks ago, I signed a petition (the site has since been taken down, but you
can see it at archive.org) expressing my support for Joi Ito. Not unexpectedly, that
signing produced anger and outrage among many, and among some of my friends. I had
wanted, in the spirit of the Net, to respond and explain then. I was asked by Joi’s friends
not to. Yesterday’s events terminate that injunction. What follows is an explanation and

an account, with as little emotion as I can muster.

Thad known of Joi’s contact with Epstein since about the beginning. He had reached out
to me to discuss it. We are friends (Joi and I), and he knew I would be upset by his
working with a pedophile. He knew that because he knew that I had been extensively
abused as a kid, and that I am ferocious in my anger at people and institutions that
protect abusers. (Defenders of the Catholic Church just love me for this.) Indeed, as I
have come to understand myself, I see this anger as the whole reason for the work I do.
Institutional corruption is just a fancy way to frame the dynamic of the weak enabling

evil to do wrong.

Our conversations then were about his diligence to determine whether Epstein remained
an abuser. I am constitutionally skeptical about claims that pedophiles reform.
Pedophilia is alcoholism; it is never gone (without chemical castration), it is only
suppressed. Or so I can’t help but believe — I am not a scientist, and I have studied the
facts not so deeply. But it is how I feel the wrong that evil is. It is how Joi knew I felt it.
And so we had what would not have been an easy conversation about whether this

criminal continued his soul-sucking crimes.

Joi believed that he did not. He believed Epstein was terrified after the prosecution in
2011. He believed he had come to recognize that he would lose everything. He believed
that whatever else he was, he was brilliant enough to understand the devastation to him
of losing everything. He believed that he was a criminal who had stopped his crime. And
nothing in his experience with Epstein contradicted this belief.

https://medium.com/@lessig/on-joi-and-mit-3cb422febae7 2/10
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 4 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

It was not my fight. I didn’t have the stomach or the ability then to do my own
investigation. I wish now I had just screamed “don’t” to Joi. But I didn’t—and I wouldn’t
have. Indeed, though I don’t remember this precisely, I probably told him that if he was
convinced, then it was ok. Because the truth is that—as I thought about it then—if Joi
believed as he did after real diligence, I didn’t believe he was wrong to take Epstein’s
money anonymously.

That belief — of mine—was a mistake, for reasons that I’ll return to below. But we
should start with why that belief is even conceivable before I return to why it is wrong.

thank god that I’ve never been obligated to raise money for an institution like MIT,
I because I know that in every moment of that existence, I would be forced to
confront a gap between what I believe is right and what every institution does. And yet,
as a person charged with fundraising, I would be pressed to adopt the ethics of the
institution, not the ethics of myself.

Divide the entities or people who want to give to an institution like MIT into four types.

© Type 1 is people like Tom Hanks or Taylor Swift — people who are wealthy and
whose wealth comes from nothing but doing good.

e Type 2 is entities like Google or Facebook, or people whose wealth comes from those
companies. These are people who are wealthy because of their work within
companies of ambiguous good. Some love them. Some hate them. Some think they
are the key to all that’s evil in the age that’s coming. Some think they are the key to
all that will be good.

e Type 3 is people who are criminals, but whose wealth does not derive from their
crime. This is Epstein, but not just Epstein. It may be that we'll discover that Epstein
got rich by blackmailing people whom he had encouraged or enabled to commit
abuse. I doubt it, but it’s possible. Suffice it that when Joi was investigating whether
that criminal continued his crime, no one was suggesting that his enormous wealth
was the product of blackmail or sex slavery. He was, the world assumed, a brilliant,

savant-like investor, who was also a sexual predator.

e Type 4 is entities and people whose wealth comes from clearly wrongful or harmful
or immoral behavior. The RJ Reynolds Foundation, the Sacklers, the Kochs: I

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7 3/10
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 5 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

recognize that people have different views about these people or entities, but it is not
hard to identify the enormous harm that each has caused. Smoking has killed
multiples of the German Holocaust. Since 1999, more than 200,000 have died from
OxyContin overdoses — four times the number of Americans killed in Vietnam (even
if that’s less than a fifth of the number of people killed in that insane war). If there is
a single family responsible for the fact that we to this day have no comprehensive
legislation addressing climate change, it is the Kochs. This money is blood money. It
is wealth that is great because of the harm.

Universities wish they could fund their work with Type 1 money exclusively. I can’t
imagine that there is a single university in America that does. Instead, every university
takes all four types of money. That’s not to say that the universities don’t have standards
and don’t discriminate among the various sources within each type. That’s the clear
lesson from Ronan Farrow’s piece yesterday: apparently MIT, like probably every great
university, maintains a list of “disqualified” donors. Farrow will be shown to be wrong
about whether the administration told Joi that Epstein was disqualified when the Media
Lab took his money, but that’s a detail for the moment. The point just now is not that
universities take whatever money is offered to them. The point is simply that in any

major university, there is money from each of these four buckets.

That fact is what would make raising money for universities so difficult for me. Yet one
way around that difficulty is to police the different motives that givers might have. Some
simply give to support the university or the science the university advances — whether
anonymously or not. But some give their money to whitewash their reputation. No one
who knows little about Rockefeller or Carnegie thinks anything negative about those
criminals. That’s because whitewashing works. And since time immemorial, there have
been people or families keen to wash away the stains of blood money. Or at least, to
burnish the ambiguity of their reputation by leveraging the brand of great universities.

And here then would be the rub for me at least (because most universities don’t follow
this rule): I think that universities should not be the launderers of reputation. I think
that they should not accept blood money. Or more precisely, I believe that if they are
going to accept blood money (type 4) or the money from people convicted of a crime
(type 3), they should only ever accept that money anonymously. Anonymity — or as my
colleague Chris Robertson would put it, blinding — is the least a university should do to

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7 4/10
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 6 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

avoid becoming the mechanism through which great wrong is forgiven. Were I king, I

would ban non-anonymous gifts of type 3 or type 4.

Obviously, the difficulty with such a rule is distinguishing type 2 from type 4: Is Warren
Buffet type 4? Obviously not. Is Bill Gates? In my view, plainly not. Is Google? So far, in
my view, not, but we'll see. Is RJ Reynolds? Plainly yes. I have my views, but I realize my
views are both more conservative and more liberal than others. Which is why such a rule
is so difficult — however clearly, in my view, it may be compelled by the ideals of any
great university.

k, that’s a lot of words to get to a critical point about the Joi Ito story: Everyone
O seems to treat it as if the anonymity and secrecy around Epstein’s gift are a
measure of some kind of moral failing. I see it as exactly the opposite. IF you are going to
take type 3 money, then you should only take it anonymously. And if you take it
anonymously, then obviously you will take the many steps detailed by Farrow to keep it
secret. Secrecy is the only saving virtue of accepting money like this. And rather than
repeating unreflective paeans to “transparency,” we should recognize that in many
cases, secrecy is golden. I suspect MIT takes similarly severe steps to keep the academic
records of its students secret. Good for them, for here, too, transparency would be evil.

Thus when Joi was convinced that the crimes had ended, and he took Epstein’s money,
anonymously, he was doing, as I saw it, and likely said, then, the most that any
university administrator could do, given the unending need to raise money. That view
was then confirmed by MIT’s administration directly when they told Joi to take the

money, conditioned upon its anonymity.

But what I — and Joi—missed then was the great risk of great harm that this gift would
create. Sure, it wasn’t blood money, and sure, because anonymous, the gift wasn’t used
to burnish Epstein’s reputation. But the gift was a ticking time bomb. At some point, it
was destined to be discovered. And when it was discovered, it would do real and
substantial pain to the people within the Media Lab who would come to see that they
were supported in part by the gift of a pedophile. That pain is real and visceral and
substantial and not taken seriously enough. And every bit of emotion and outrage from
victims that I have seen in this episode is, in my view, completely justified by the
completely predictable consequence of that discovery. If you have not been abused, if
you have not experienced that sense of being used and helpless, that may well not be

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7 5/10
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 7 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

understandable to you. Maybe. But I believe that empathy is a basic human emotion.
And I believe that all of us should recognize the pain that only some of us can feel in
seeing the institutions around us painted with the names or wealth of those who do that

wrong.

Joi should have recognized that risk. He had it in him because he had come to talk to me
about it at the start. He knew people could be hurt by just knowing the facts. But he
assumed they would not be harmed, because he assumed that they would not know the
facts. No doubt, he had more confidence in confidentiality at the start than later on. But
at the moment the wrong was initiated, he should have known that time bombs do not
belong within the walls of great institutions. And he should not have brought this time
bomb within the walls of the Media Lab.

He should have known that.
I should have known that.

It is the pathology of my profession that we allow emotion to be so effectively
rationalized. So I didn’t allow the emotion to speak when I spoke to Joi then. I was
driven by the reasoning that I have enslaved the bits above to describe. Iam ashamed —
ashamed—that I did not do for my friend the one thing I was uniquely qualified to do: I
am ashamed that I did not let him see just how hurtful it was to imagine slime like
Epstein living within the walls of MIT, even if hidden by promises of anonymity. I fear
that I have become so good at intellectualizing what happened to me that I am awful at
showing the raw soul-wrenching destruction that that evil is. I should not have reasoned

with Joi when he came to me. I should have wept.

I’m not saying that would have stopped him. I’m not saying that was my job. But it was
my job to be his friend. I wasn’t the friend I should have been.

A nd so now Joi is gone. Not dead. Not destroyed. I can’t imagine the creative
greatness that the next life of this sweet soul will produce. It will be greatness

beyond measure, no douDt, again.

But as I reflect on how we got to this day, yesterday, I can’t help but fear for our time. Can
we deal with any complicated issue, sensibly? Or humanely? Or with integrity?

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7 6/10
Case 1:20-cv-10060-NMG Document 1-1 Filed 01/13/20 Page 8 of 8
9/20/2019 On Joi and MIT - Lessig - Medium

I know that Farrow’s article is crafted to draw the following sentence into doubt:
Everything Joi did in accepting Epstein’s money he did with MIT’s approval. I trust the
MIT review will confirm it (yes, I remain exactly that naive). So why is he resigning,

rather than others in the administration?

And if Ito must go because Epstein’s wealth was accepted anonymously, who else should
go because of blood money accepted openly? Will the planet have an equal advocate
who demands justice for the Koch money? Or the victims of opioid abuse for the Sackler
money? The world is obsessed with erasing the names of 18th-century racists (as if there
were any leaders in America in the 18th century who were not racists in our 21st-
century sense); what about the names of those who profited from harming others, and

destroying the planet?

But more fundamentally, do we even have the capacity to make complicated judgments
of justice anymore? Kate Darling doesn’t forget Joi his wrong (that should be
grammatical; we need that construction); yet she didn’t believe he should leave. Isn’t
that the human condition with all of us? Is there a single person whose story is not

complicated in just this sense? Is the balance just one part, or all parts, together?

So put the parts together: The MediaLab accepted an anonymous contribution from
Epstein through the help and direction of Joi. The Lab did not (as “Professor
Anonymous” wrote to me, his outrage apparently blinding him to irony) “help
reputation-launder a convicted sex offender.” It would have, had it not be anonymous;
but that’s the point about it being anonymous. Joi accepted this contribution with the
full knowledge and approval of MIT. (Farrow’s suggestion to the contrary will be shown
not to be correct, as will the claims that the Lab lied to the press.) And then when that
anonymity was broken, Joi acknowledged the mistake (as I have described it, the
mistake in creating the potential for such pain to be so viciously revived), owned it, and
apologized. The apology was not just a post — it was hours and hours of engaging and
acknowledging the pain to his community, and the wrong in having caused it. That
balance, so many have so quickly concluded, yields the result that Joi must go. And so is
he gone.

MIT is less now that Joi is gone. I suspect even his most vocal critics recognize as much.
So is what MIT lost worth what “the cause” has gained?

https://medium.com/@lessig/on-joi-and-mit-3cb422fe5ae7 7/i10
